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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )      Docket No. 1:21-cr-00035-RC-5
                                                     )
                                                     )
               v.                                    )
                                                     )
                                                     )
JACK WADE WHITTON,                                   )     The Honorable Rudolph Contreras
                                                     )
                                                     )
               Defendant.                            )


         JACK WHITTON’S NOTICE CONCERNING ONLINE FUNDRAISING

       The Presentence Report for Defendant Whitton noted that, as of December 13, 2022,

Defendant’s Whitton’s girlfriend, Haley McLean, had raised $61,685 through the online

fundraising platform GiveSendGo. PSR, ¶ 103. Having conferred with Ms. McLean, counsel

understands that the GiveSendGo funds were distributed to the defendant’s prior and current

counsel, as well as legal/travel expenses, a psychological evaluation, and defendant’s

commissary purchases, thus exceeding the raised amount.

                                                    Respectfully submitted,


                                                     s/ Komron Jon Maknoon
                                                     Komron Jon Maknoon, Esquire
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